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              IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA


MARIA M. GIVENS, as Personal           )
Representative of the Estate of        )
Raymond C. Givens,                     )
                                       )
             Plaintiff,                )
                                       )
      v.                               )
                                       )
JOSEPH DELIA,                          ) Case No. 3:23-cv-00121-HRH
                                       )
             Defendant.                )
                                       )


           DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                 AND MEMORANDUM IN SUPPORT




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               STATUTES PRINCIPALLY RELIED UPON

25 U.S.C. § 410 provides:

No money accruing from any lease or sale of lands held in trust by the United
States for any Indian shall become liable for the payment of any debt of, or
claim against, such Indian contracted or arising during such trust period, or,
in case of a minor, during his minority, except with the approval and consent
of the Secretary of the Interior.




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      Defendant Joseph (“Joe”) Delia respectfully moves for summary judg-

ment pursuant to Federal Rule of Civil Procedure 56 regarding Affirmative

Defense 9.1 Joe is entitled to summary judgment because the contingency fee

contract, as amended (the “Contract”), that Plaintiff Maria M. Givens seeks to

enforce violates 25 U.S.C. § 410. There are no genuine disputes as to any ma-

terial facts, and Joe is entitled to judgment as a matter of law.

                              INTRODUCTION

      In 2003, when Joe and seven of his relatives (collectively, the “Oenga

heirs”) needed help advocating for their rights in a matter involving a lease of

the family’s Alaska Native allotment, they hired Raymond (“Ray”) C. Givens

to be their lawyer.2 During the attorney-client relationship, Joe trusted Ray to

provide professional services and counsel, and Joe believed that Ray should be

compensated fairly. Between 2006 and 2021, the Oenga heirs paid Ray more

than $7 million, and Joe personally paid Ray more than $1.7 million.3

      However, Joe’s trust in Ray ended once Joe learned how Ray had been

treating the other Oenga heirs. While Ray was still their lawyer, he began a


1     Docket No. 7 at 11 (“The Contingency Fee Contract, as amended, cannot
be enforced because it is illegal.”).
2     After the substitution of Maria M. Givens as the plaintiff, the defendant
and former plaintiff are referred to by their first names for ease of reference.
3     Declaration of Andrew Erickson at 7, ¶ 24; 8, ¶ 25.

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campaign of threats and intimidation aimed at coercing the Oenga heirs into

making significant payments totaling hundreds of thousands of dollars to him

each year. Ray knew that the Oenga heirs were receiving substantial rent pay-

ments from their allotment lease and he became obsessed with their personal

financial matters. Ray even hired a private investigator to track the wherea-

bouts of one of the Oenga heirs who had questioned whether Ray was entitled

to any more fees. After Ray had retired and was no longer licensed to practice

law, he continued to hold himself out as representing the Oenga heirs, attempt-

ing to gain access to their confidential financial information for his own benefit.

      Once their attorney-client relationship ended, Joe discovered that Ray

had committed a host of ethical and legal violations throughout his represen-

tation of the Oenga heirs, including failing to disclose that he was not licensed

to practice law in Alaska and the existence of serious, unresolved conflicts of

interest.4 Most importantly for the purposes of this motion, Joe learned that

the U.S. Department of the Interior had never approved the Contract that Ray




4     Discovery in this case is ongoing. Joe reserves his legal and factual ar-
guments that Ray’s ethical breaches warrant complete dismissal of the claims.
See Kenneth P. Jacobus, P.C. v. Kalenka, 464 P.3d 1231, 1240 (Alaska 2020)
(“[O]nce a conflict of interest or other ethical violation has been established,
the attorney is prohibited from collecting fees for his or her services.” (quoting
In re Estate of Brandon, 902 P.2d 1299, 1317 (Alaska 1995))).

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claimed entitled him to 25% of the Oenga heirs’ allotment lease proceeds every

year through 2038.

      This Court should conclude as a matter of law that the Contract is illegal

and unenforceable because it violates 25 U.S.C. § 410. Section 410 provides

that “[n]o money accruing from any lease or sale of lands held in trust by the

United States for any Indian shall become liable for the payment of any debt

of, or claim against, such Indian . . . except with the approval and consent of the

Secretary of the Interior.”5

      Here, the Contract violates Section 410 because it makes the Oenga

heirs’ allotment lease payments liable for Ray’s attorney’s fees. Ray drafted the

Contract to ensure that the Oenga heirs would pay his fees directly from their

lease rents each year, and Ray has insisted that the Oenga heirs’ debt is a

“lien,” or an encumbrance, on the allotment itself that runs with the land.6

There is no factual dispute that Interior never approved the Contract.




5     25 U.S.C. § 410 (emphasis added).
6     Exhibit A at 18-19 [Plaintiff’s Motion for Prejudgment Writ of Attach-
ment, Docket No. 121 at 18-19, Givens v. Leroy Oenga, Jr., No. 3:21-cv-00008-
HRH (D. Alaska June 11, 2024)] (“[Leroy Jr.’s] inheritance of his father’s in-
terest in the allotment was subject to the obligation to pay [Ray’s] fee from
annual rents as a covenant running with the land.” (emphasis added))].

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      In applying Alaska law, this Court should conclude that the Contract is

illegal and unenforceable. Furthermore, Ray’s estate is not entitled to any eq-

uitable relief because Joe has already paid a reasonable amount of fees.

                  STATEMENT OF UNDISPUTED FACTS

      The contested Contract in this case is a contingency fee agreement

among Ray and the Oenga heirs, which arose in the context of a lease of an

Alaska Native allotment. None of the material facts are disputed.

I.    The Oenga Allotment and Lease Agreement

      In 1980, Joe’s grandfather, Andrew Oenga—an Inupiat Alaska Native—

received a forty-acre allotment on the North Slope near Prudhoe Bay.7 Pursu-

ant to the Alaska Native Allotment Act,8 the United States reserved “[a]ll of

the oil and gas in the land so allotted, and to it, or persons authorized by it, the

right to prospect for, mine, and remove such deposits from the same.”9

      Because of the Oenga allotment’s location “on a peninsula known as

Heald Point that juts out into the Beaufort Sea,” which was “strategically




7     See Oenga v. United States (Oenga I), 83 Fed. Cl. 594, 598 (2008).
8       Act of May 17, 1906, Pub. L. No. 59-171, 34 Stat. 197. See generally
Alaska v. Babbitt, 38 F.3d 1068, 1073 (9th Cir. 1994) (“Once such an allotment
is vested and the occupant gains equitable title to it, the United States’ legal
title is held in trust for the occupant.”).
9     Oenga I, 83 Fed. Cl. at 598.

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located for directional drilling into state oil and gas leases,” it was a uniquely

valuable piece of land.10 In 1989, Andrew Oenga and BP Exploration (Alaska)

(“BP”) entered into a lease agreement granting BP the rights to operate oil and

gas development and production facilities on the allotment through 2014 with

the option of extending for a subsequent 25-year term (the “Lease Agree-

ment”).11 The Lease Agreement was approved by the Bureau of Indian Affairs

(“BIA”) “under 25 U.S.C. § 415(a) and the implementing regulations in 25

C.F.R. Part 162.”12

      As the Court of Federal Claims explained in a case involving the Oenga

allotment, “[t]he lease provided for an annual payment of $1,600 per acre

($16,000 per year for the initial ten-acre area) for each of the first five years,

plus a $25,000 signing bonus.”13 “The rental rate could be ‘increased at succes-

sive five-year intervals beginning in the sixth year after rental payments have

begun[,] . . . based upon either the fair market undeveloped rental value for the

property established by a [BIA] appraisal . . . or . . . based on the application of




10    Oenga v. United States (Oenga III), 96 Fed. Cl. 479, 482 (2010).
11    Id.
12    Id.
13    Oenga I, 83 Fed. Cl. at 600.

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a ’Cost Adjustment Factor’; which ever [sic] is greater.’ ”14 “The Cost Adjust-

ment Factor was calculated using the change in the Consumer Price Index

(‘CPI’) from the CPI at the time of the prior rental adjustment (or, for the first

reappraisal, the CPI at the time the lease was executed).”15 In 1994, the Lease

Agreement was amended to increase the annual rent to $80,640 and “provide

for rental adjustments every four years instead of every five years.”16 “The an-

nual rent for the period beginning in 1998 was set at $88,997.34,”17 and the

next rental adjustment period was scheduled for 2002–2006.

      Under the Lease Agreement, BP’s annual rent was paid directly to the

BIA to hold in trust for Andrew Oenga, and subsequently his heirs, who inher-

ited various percentages of the allotment.18 However, by early 2003, the Oenga

heirs began questioning whether they were receiving the proper amounts of

rent payments. They sought out a lawyer for help.19



14    Id. at 600-01 (emphasis omitted; alterations in original).
15    Id. at 601.
16    Id. at 603.
17    Id. at 605.
18   See Docket No. 30-1 (SEALED) (Oenga family tree showing percentage
ownership of the allotment).
19    Exhibit B at 3 (filed under seal) [Excerpts of Transcript, Testimony of
Raymond C. Givens, Alaska Bar Association Fee Arbitration, Leroy Oenga Jr.
v. Raymond C. Givens, No. 2021-F012 (Nov. 12, 2022)].

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II.    The Contingency Fee Contract

       Enter Ray Givens. In 2003, Ray was desperately searching for work on

Indian law issues.20 Although he was only licensed to practice law in Idaho and

Washington,21 he sent a brochure advertising his law practice (the “Givens Law

Firm”) to every federally-recognized Indian tribe in the country, including in

Alaska.22 One of his brochures was received by the Inupiat Community of the

Arctic Slope (“ICAS”)—a federally recognized Alaska tribal government—

which was engaged in realty work on behalf of the BIA on the North Slope.

ICAS put the Oenga heirs in touch with Ray.23

       In October 2003, Ray and the Oenga heirs entered into the Contract,

providing for attorney’s fees on a contingent basis.24 The Contract provided

that Ray would represent the Oenga heirs in matters regarding “claims or

causes of action arising out of” the Lease Agreement “and do all things




20     See Exhibit B at 2.
21    Exhibit C at 1 (“I was not and am not a member of the Alaska Bar Asso-
ciation. I was admitted to practice law in Washington State and Idaho when I
represented the Oenga heirs.”) [Declaration of Raymond C. Givens, Docket No.
21, Givens v. Oenga Jr., No. 3:21-cv-00008-HRH (D. Alaska May 21, 2021)].
22     Exhibit B at 2.
23     Exhibit B at 3.
24     Exhibit D at 1 [Contingency Fee Contract].

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necessary, appropriate, or advisable, in regard thereto.”25 Ray would be com-

pensated by a percentage of the heirs’ “Gross Recovery,” which included back

payments received under the Lease Agreement, increased lease payments un-

der the Lease Agreement, damages, proceeds from any sale of the allotment,

judgment or settlement amounts, and any increase resulting from the BIA’s

decision to use an ongoing appraisal to establish the lease rent going forward.26

      The Contract provided that Ray would receive 30% of the Gross Recovery

received in a settlement without an action having been filed in any court;

33.33% recovered through arbitration or settlement after filing an action in

court but before trial; 35% recovered through arbitration, settlement, or judg-

ment after trial; or 40% recovered through settlement upon appeal. The Con-

tract also provided that “said sums payable to [Ray] for professional services

are to be a lien upon any sums received in settlement or payment of any said

claim, or upon any judgment recovered.”27 Ray did not seek Interior’s approval




25    Exhibit D at 1.
26    Exhibit D at 1-2.
27    Exhibit D at 1 (emphasis added).

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of the Contract, despite its provisions making allotment lease proceeds liable

for the payment of his attorney’s fees.28

III.    Oenga v. United States

        In June 2006, Ray filed a lawsuit on behalf of the Oenga heirs against

the United States in the Court of Federal Claims seeking damages for breach

of trust, and declaratory and injunctive relief related to the Lease Agreement.29

The complaint alleged that the “United States has breached its fiduciary obli-

gation and trust responsibility to the [Oenga heirs] by failing to collect and pay

to the [heirs] an amount to be determined by the Court in the range of

$27,265,943 (2.5% royalty) to $45,927,280 (4.167% royalty), less the amount

collected ($670,191) plus interest at 18% per annum.”30 BP and other oil com-

panies intervened in the case as defendants.

        On February 12, 2010, the Court of Federal Claims determined that the

United States breached its trust duties to the Oenga heirs by failing to monitor




28   Docket No. 36 at 18-19 (“[Ray] did not first seek the United States’ ap-
proval of his fee contract with [the] Oenga heirs because he believed the gov-
ernment likely would not approve it or would insist on terms that would dis-
suade [Ray] from taking the case in the first place.”).
29   See Complaint, Oenga v. United States, No. 1:06-cv-00491-NBF (Fed. Cl.
June 30, 2006).
30      Id.

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BP’s compliance with the Lease Agreement beginning in 2001.31 The court also

concluded that the Oenga heirs were entitled to a judgment in an amount equal

to the damages that the United States would have been entitled to recover from

BP for the trespass in 2001 plus damages from BP’s continued unauthorized

use of the allotment.32 Following an eight-day trial on the damages amount,

the court entered final judgment in favor of the Oenga heirs for $4,924,000;

however, the United States, oil company intervenors, and the Oenga heirs each

appealed the damages award.

IV.    The Contingency Fee Contract First Amendment

       While the appeal in Oenga v. United States was pending, the parties pur-

sued settlement negotiations and held a mediation in Fairbanks in June 2011.

The mediation resulted in a preliminary settlement framework outlined in a

“Confidential Term Sheet” that Ray signed on June 23, 2011.33 Under the set-

tlement framework, the Oenga heirs would receive a $13.5 million lump sum

payment34 and the Lease Agreement would be replaced by a new lease with




31     Oenga v. United States (Oenga II), 91 Fed. Cl. 629, 650 (2010).
32     Id.
33   See Exhibit E at 3 [Order on Motion for Reconsideration, Docket No. 54,
Givens v. Oenga Jr., No. 3:21-cv-00008-HRH (D. Alaska Sept. 24, 2021)].
34     Exhibit F at 1 [Contingency Fee Contract First Amendment].

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rent “starting at $650,000/yr and increasing annually on a CPI-based cost of

living adjustment.”35

      On August 5, 2011, at a meeting in Fairbanks, Ray demanded that the

Oenga heirs sign an amendment to the Contract. The “Contingency Fee Con-

tract First Amendment” modified the Contract to provide that the Oenga heirs

would pay Ray “35% of the $13.5 million Lump Sum Settlement Amount paid

under the Settlement Agreement” and “25% of annual rental” on the allotment

“for both the 2012-2013 inclusive period and for the extended term period of

2014–2038 inclusive.”36 Thus, under the amended Contract, Ray’s fees in-

cluded future lease proceeds and would be paid directly to Ray:

            [The Oenga heirs] shall direct that these pay-
            ments for professional services shall be paid di-
            rectly to [Ray] by Lessee BP Exploration
            (Alaska), Inc. and/or the United States or any
            subdivision thereof from the funds due [the
            Oenga heirs] at the same time the remaining
            funds due are paid . . . .[37]

      Ray explained that the amendment was necessary because the original

Contract was ambiguous and too complex, and it was unclear what part of the



35    Exhibit F at 1.
36    Exhibit F at 1.
37    Exhibit F at 2.

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settlement he would receive.38 Ray never advised the Oenga heirs that the

amendment significantly changed the payments that they would make to Ray

each year,39 or that they could seek independent legal advice before they signed

the contract amendment.40 Ray also did not seek Interior’s approval of the Con-

tingency Fee Contract First Amendment.41

V.    The Fee/Cost Reduction Agreement

      On May 24, 2012, at a meeting in Fairbanks with Ray, the Oenga heirs

signed a global settlement agreement with the United States and the oil com-

panies.42 The “Settlement Agreement and Release of All Claims” provided that




38    Exhibit F at 1.
39    Compare Exhibit D at 1-2 (excluding annual CPI adjustments from cal-
culation of Ray’s fees), with Exhibit F at 1-2 (including annual CPI adjust-
ments in calculation of Ray’s fees).
40    Exhibit G at 2-3 (filed under seal) [Deposition of Raymond C. Givens,
Alaska Bar Association Fee Arbitration, Leroy Oenga Jr. v. Raymond C. Giv-
ens, No. 2021-F-012 (Oct. 12, 2022)]:
      Q: And at any point in time did you ever verbally tell the Oengas
      that if they wanted to dispute or seek any kind of independent
      counsel with regard to any amendment to the contingency fee con-
      tract, that they may do so?
      Ray: I have no recollection of that conversation such as that ever—
      ever occurring.
41    Docket No. 36 at 18-19.
42   See Exhibit E at 4; Exhibit H (filed under seal) [Settlement Agreement
and Release of All Claims].

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the United States and the oil companies would pay the Oenga heirs the agreed-

upon $13.5 million lump sum in exchange for dismissal of all appeals and ac-

tions regarding the allotment.43 The BIA would distribute the settlement pay-

ments to the Oenga heirs in proportion to their respective ownership interests

in the allotment through their Individual Indian Money (“IIM”) accounts.44

With the BIA’s approval, the Oenga heirs also executed a replacement lease

for the allotment (“the 2012 Lease Agreement”).45

      At the same time that the Oenga heirs signed the Settlement Agreement

and 2012 Lease Agreement, Ray demanded that the Oenga heirs sign a second

amendment to the Contract. The “Fee/Cost Reduction Agreement” revised the

Contract’s method for reimbursing Ray’s litigation costs.46 Because the Con-

tract did not specify whether costs would be deducted before or after calculat-

ing Ray’s contingent fee, Ray explained that the “Fee First Approach,” which

he had been using, “has been questioned by the [BIA], suggesting that the costs




43    Exhibit J at 1 [Fee/Cost Reduction Agreement].
44    Exhibit H at 19.
45    See Exhibit I (filed under seal) [2012 Lease Agreement].
46    Exhibit J at 2.

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should be reimbursed before the fee is paid [Cost First Approach].”47 Thus, the

Fee/Cost Reduction Agreement stated that “despite the provisions of the Con-

tingency Fee Contract as amended to the contrary” reimbursement of Ray’s

$444,465 in litigation costs would be deducted from the $13.5 million lump sum

payment before calculating Ray’s attorney’s fees (resulting in Ray claiming

$4,569,437 in attorney’s fees from the lump sum payment).48 Finally, the

Fee/Cost Reduction Agreement reiterated that “the contingency fee due on fu-

ture rents, which was specifically provided for in both the original Contingency

Fee Contract and the First Amendment thereof, remains due each year as a

25% fee of the total rent received each year.”49 Ray never advised the Oenga

heirs that they could seek independent legal advice before they signed the




47    Exhibit J at 1; see also Exhibit K at 6 [Letter from Eugene R. Virden,
Regional Director, BIA Alaska Region, to Raymond C. Givens (Dec. 9, 2011)]
(“The current Contingency Fee Agreement does not appear to comply with
Model Rule of Professional Conduct 1.5(c) because it does not clearly state
‘whether [litigation and other expenses] are to be deducted before or after the
contingent fee is calculated.’ ”).
48    Exhibit J at 2.
49    Exhibit J at 2.

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second contract amendment.50 Ray also did not seek Interior’s approval of the

Fee/Cost Reduction Agreement.51

                               LEGAL STANDARDS

      Federal Rule of Civil Procedure 56 provides that a party may move for

summary judgment on their claims or defenses or any parts thereof.52 “The

court shall grant summary judgment if the movant shows that there is no gen-

uine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.”53

      In this diversity jurisdiction case, “the Court applies federal procedural

law and Alaska substantive law.”54 “Under Alaska law, the interpretation of a




50     Exhibit G at 2-3. But see American Bar Association, Formal Ethics Opin-
ion 11-458 (Aug. 4, 2011) (“The courts are generally in accord that once the
initial contract has been formed and the fiduciary relationship of client and
lawyer has begun, any change in the contract will be regarded with great sus-
picion.” (quoting Charles W. Wolfram, Modern Legal Ethics § 9.2.1 at 503
(1986))).
51    Docket No. 36 at 19.
52   Polar Envtl. Techs. Inc. v. Rus-Oleum Corp., No. 4:20-cv-00017-HRH,
2022 U.S. Dist. LEXIS 139200 at * 9 (D. Alaska Aug. 4, 2022).
53    Fed. R. Civ. P. 56(a).
54    Wroten v. USAA Gen. Indem. Co., 535 F. Supp. 3d 880, 883 (D. Alaska
2021) (citing Erie R. Co. v. Tompkins, 304 U.S. 64, 78 (1938)).

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contract is a question of law.”55 When there is no controlling Alaska Supreme

Court decision, this Court looks to case law, statutes, treatises, and restate-

ments as guidance to decide how the Alaska Supreme Court would rule on the

legal question presented.56

                                 ARGUMENT

I.    Illegal contracts are unenforceable.

      It is blackletter law that courts “have no power, either in law or in equity,

to enforce an agreement which directly contravenes a legislative enactment.”57

“The authorities from the earliest time to the present unanimously hold that

no court will lend its assistance in any way towards carrying out the terms of

an illegal contract. In case any action is brought in which it is necessary to

prove the illegal contract in order to maintain the action, courts will not enforce




55   Martin v. Gov’t Emps. Ins. Co., No. 3:12-cv-00060-RRB, 2013 U.S. Dist.
LEXIS 192171 at * 7 (D. Alaska Feb. 6, 2013) (citing Handle Constr. Co. v.
Norcon, Inc., 264 P.3d 367, 370 (Alaska 2011) and K & K Recycling, Inc. v.
Alaska Gold Co., 80 P.3d 702, 711-12 (Alaska 2003)).
56    See Ross Dress for Less, Inc. v. Makarios-Oregon, LLC, 39 F.4th 1113,
1118 (9th Cir. 2022).
57    Pavone v. Pavone, 860 P.2d 1228, 1231 (Alaska 1993) (citing Hemmen v.
State, 710 P.2d 1001, 1003 (Alaska 1985)).

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it . . . .”58 “Generally, courts leave parties to an illegal bargain where they find

them and will grant no remedy to either party.”59

      Under Alaska law, “courts may have an independent obligation not to

enforce contracts that are contrary to statute or illegal on public policy

grounds.”60 If there is legislation specifically prohibiting enforcement of a con-

tractual term, “then the disputed term will always be unenforceable.”61

      For example, in Leisnoi, Inc. v. Merdes & Merdes, P.C., the Alaska Su-

preme Court refused to enforce a contingency fee agreement between a lawyer

and client because the agreement violated federal law.62 The client, an Alaska

Native corporation, promised to grant the lawyer a 30% interest in the corpo-

ration’s Alaska Native Claims Settlement Act (“ANCSA”) lands if the corpora-

tion prevailed in litigation handled by the lawyer.63 But when the corporation




58    Kaiser Steel Corp. v. Mullins, 455 U.S. 72, 77 (1982) (quoting McMullen
v. Hoffman, 174 U.S. 639, 654 (1899)).
59     Erickson v. Pfiester, No. 1:21-cv-00009-JMK, 2023 U.S. Dist. LEXIS
173363 at * 10 (D. Alaska Sept. 27, 2023) (quoting Pavone 860 P.2d at 1231
(citing Cosmopolitan Fin. Corp. v. Runnels, 625 P.2d 390, 397 (Haw. Ct. App.
1981))).
60    Leisnoi, Inc. v. Merdes & Merdes, P.C., 307 P.3d 879, 888 (Alaska 2013).
61    Pavone, 860 P.2d at 1231.
62    307 P.3d at 887-89.
63    Id. at 881.

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prevailed, it refused to convey the interest in its lands and commenced fee ar-

bitration under the Alaska Bar Rules.64

      In Leisnoi, the Bar Association arbitration panel enforced the contin-

gency fee agreement by requiring the corporation to pay the lawyer an amount

equal to 30% of the value of the corporation’s ANCSA lands as a money judg-

ment.65 The superior court confirmed the arbitration award and the corpora-

tion began making payments to the lawyer.66

      More than 14 years later, when the corporation stopped making pay-

ments, the lawyer moved for a writ of execution to collect the judgment.67 In

opposing the writ, the corporation asserted (for the first time) that the contin-

gency fee agreement violated Section 22(a) of ANCSA, which prohibits Alaska

Native corporations from entering into contracts “based on a percentage fee of

the value of all or some portion of the settlement granted by [ANCSA].”68 How-

ever, the superior court issued the writ, ruling that the corporation’s argu-

ments were not raised within a reasonable time after the judgment.69


64    Id. at 882-83.
65    Id. at 883.
66    Id.
67    See id. at 884.
68    Id. at 887.
69    See id. at 893.

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       On appeal, the Alaska Supreme Court reversed, concluding that the con-

tingency fee agreement clearly violated ANCSA and was therefore unenforce-

able.70 The Court determined that the corporation was not barred from raising

an illegality defense for the first time in post-judgment proceedings because

the arbitration award and superior court judgment enforcing the contract were

themselves illegal and no writ of execution could be granted.71 “Whenever a

court becomes aware that a contract is illegal, it has a duty to refrain from

entering an action to enforce the contract.”72 Thus, Leisnoi stands for the prop-

osition that a contingency fee agreement that violates a provision of federal

law cannot be enforced in the courts, even if the parties’ past performance in-

dicates acceptance of the agreement’s terms.

II.    The Contract violates Section 410.

       As the United States explained in its amicus brief in this case, “Congress

has limited how leasing income derived from Indian lands, including the




70   Id. at 887 (“[I]t is clear that the original agreement between Merdes and
Leisnoi violated the statute: It was based on a percentage fee of the value of
Leisnoi’s ANCSA lands.”).
71     Id. at 887-89.
72    Id. at 888 n.27 (quoting Bovard v. Am. Horse Enters., Inc., 247 Cal. Rptr.
340, 343 (Cal. App. 1988)).

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[Oenga] Allotment, can be used to satisfy debts or claims by creditors.”73 Sec-

tion 410 provides in full:

            No money accruing from any lease or sale of lands held
            in trust by the United States for any Indian shall be-
            come liable for the payment of any debt of, or claim
            against, such Indian contracted or arising during such
            trust period, or, in case of a minor, during his minority,
            except with the approval and consent of the Secretary
            of the Interior.[74]

      Section 410 “establishes the general rule that funds derived from trust

property are not available for the payment of debts of, or claims against, the

account holder.”75 Because Section 410 is a federal statute designed to protect

Indians from creditors, its provisions “should be construed broadly” and “am-

biguities must be resolved in favor of the Indians.”76

      Importantly, the Alaska Supreme Court has interpreted Section 410 to

prohibit lawyers from claiming funds derived from Native allotments to satisfy

debts owed by their clients.77 In Law Offices of Vincent Vitale, P.C. v. Tabbytite,


73    Docket No. 64 at 9.
74    25 U.S.C. § 410.
75    Pretty Paint v. Rocky Mtn. Reg’l Director, 38 IBIA 177, 179 (2002).
76    Law Offices of Vincent Vitale, P.C. v. Tabbytite, 942 P.2d 1141, 1147
(Alaska 1997) (quoting In re City of Nome, 780 P.2d 363, 367 (Alaska 1989)).
77    Id. at 1144. (Section 410 “insulates from the reach of creditors proceeds
from the sale or lease of Indian allotment lands.”).

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a lawyer agreed to represent an Alaska Native allottee in litigation involving

condemnation of the allotment.78 After the condemnation was upheld by the

courts the lawyer filed a lien on the condemnation proceeds as payment for his

fees. On appeal, the Alaska Supreme Court concluded that Section 410 prohib-

ited the lawyer’s lien because “all of the proceeds from the condemnation action

reasonably can be considered to have accrued from the lease or sale of allot-

ment lands. The proceeds thus fall within the protection of section 410.”79 The

Court emphasized that “Section 410 is designed to exempt certain Indian prop-

erty from liability for the payment of certain debts” and courts are not free to

disregard “the explicit command of the statute.”80

      A.    The Contract was intended to “run with the land.”

      Applying the rule from Tabbytite to the facts here, this Court should con-

clude that the Contract violates Section 410 because it obligates money accru-

ing specifically from the allotment lease for the payment of Ray’s fees. The

Contract provides that the Oenga heirs will pay “25% of annual rental” from

the allotment lease to Ray, and specifically, that the Oenga heirs will “direct


78    Id. at 1145.
79    Id. at 1148.
80    Id. at 1147-48 (declining to apply Arenas v. Preston, 181 F.2d 62 (9th Cir.
1950) because “Section 410 is neither mentioned nor discussed in the Arenas
opinion”).

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that these payments for professional services shall be paid directly” to Ray

from the lease proceeds.81

      Ray was exceedingly clear that the Contract was intended to create a

“lien”82 on the allotment’s lease proceeds constituting a “covenant running with

the land.”83 Ray drafted the Contract so that the allotment lease proceeds were

liable for the debt that the Oenga heirs owed, and that debt would be passed

on to future allotees as a “lien” on the allotment.84 For example, in the related

case of Givens v. Leroy Oenga Jr.,85 Ray’s estate is currently attempting to en-

force the same Contract against Leroy Oenga Jr., who inherited his interest in

the allotment from one of the Oenga heirs in 2012. Although Leroy Jr. never

signed the Contract,86 the premise of Ray’s claim is that Leroy Jr.’s “inherited


81    Exhibit F at 1-2.
82    Exhibit D at 1.
83    Exhibit A at 19.
84    Compare Tabbytite, 942 P.2d at 1148 (allotment “lease proceeds thus fall
within the protection of Section 410”), with Exhibit F at 1 (“Clients agree to
pay attorney for professional services . . . 25% of annual rental on Alaska Na-
tive Allotment F-14632.”).
85    No. 3:21-cv-00008-HRH (D. Alaska).
86     Exhibit L at 6-7 [Complaint, Docket No. 1, Givens v. Leroy Oenga Jr., No.
3:21-cv-00008-HRH (D. Alaska Jan. 19, 2021)]. Joe also inherited a percentage
of his interest in the allotment after the Contract was first executed. Joe re-
serves his arguments that Ray’s claims to lease proceeds from the allotment
interest that Joe inherited from his brother in 2013 are barred by
AS 13.16.645.

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interest in the Allotment was subject to [Ray’s] right, pursuant to the Contin-

gency Fee Contract, as amended, to be paid 25% of [Leroy Jr.’s] share of annual

rents from the Allotment.”87 Thus, “the interest in the allotment inherited by

[Leroy Jr.] was impressed by the contingency fee contract,” which was a “cove-

nant running with the land.”88 “[T]he contingency fee contract included an im-

plied-in-fact covenant that [Ray’s] fee would be paid from annual rents through

2036 [sic], even if a signatory to the contract died before then.”89

      Similarly, Ray’s complaint in this case was premised on enforcing an eq-

uitable claim for specific performance against Joe.90 Ray admitted that his fee

is based on a percentage of the rent received from the allotment,91 in other



87    Exhibit L at 6.
88     Exhibit A at 18-19. “[Ray’s] claim against [Leroy Jr.] is based on the le-
gally imposed duty that he inherited his father’s interest in the allotment sub-
ject to the obligation to pay [Ray] through 2036 [sic].” Exhibit A at 11.
89    Exhibit A at 20. But see Alaska R. Prof. Conduct 1.8(a) (“A lawyer shall
not enter into a business transaction with a client or knowingly acquire an
ownership, possessory, security, or other pecuniary interest adverse to a client
unless: . . . (2) the lawyer advises the client in writing to seek independent legal
advice on the transaction and gives the client a reasonable opportunity to do
so; and (3) the client gives informed consent, in a writing . . . .”).
90    Docket No. 1 at 11; but see Flint Hills Res. Alaska, LLC v. Williams
Alaska Petro., Inc., 377 P.3d 959, 973 n. 45 (Alaska 2016) (“One who seeks the
interposition of equity must generally show that he either has no remedy at
law or that no legal remedy is adequate.” (quoting Knaebel v. Heiner, 663 P.2d
551, 553 (Alaska 1983))).
91    Docket No. 1 at 2-3.

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words, the “money accruing from” the allotment lease.92 Thus, because Ray is

actually seeking to enforce a “lien” on the allotment lease proceeds, the Con-

tract violates Section 410.93

      B.    Ray was not exempt from Section 410.

      There is no factual dispute that Interior never approved the Contract.94

Ray admitted he did not seek Interior’s approval of the Contract “because he

believed the government likely would not approve it or would insist on terms

that would dissuade [Ray] from taking the case in the first place.”95 However,



92    25 U.S.C. § 410.
93    See Tabbytite, 942 P.2d at 1148 (holding attorney’s lien on allotment pro-
ceeds was barred by Section 410).
94     The United States has already refuted Ray’s erroneous contentions that
the Contract was approved implicitly either as part of the Settlement Agree-
ment or by the BIA as part of a distribution plan for one of the Oenga heirs.
Exhibit M at 8 [United States’ Supplemental Brief, Docket No. 69 at 8, Givens
v. Wallace Oenga, No. 3:19-cv-00043-HRH (D. Alaska Mar. 19, 2020)] (“The
confidential terms sheet recognized that an agreement existed between [Ray]
and the Oenga heirs regarding attorney’s fees, but the United States did not
approve the agreement between the two parties.” (emphasis added)); Exhibit M
at 9 (“BIA approved payment of the fees in the disbursement plan for the mi-
nor’s account, but it did not purport to broadly approve the agreement between
the Oenga heirs and” Ray (emphasis added)); Exhibit M at 10 (“BIA denied
[Ray’s] request for automatic payments for the Oenga heirs’ [individual Indian
money] accounts.” (emphasis added)). The BIA has promulgated regulations
establishing procedures for requesting approval of certain contracts encumber-
ing trust property, including allotment proceeds. See 25 C.F.R. §§ 115.601(b)-
615. It is undisputed that Ray never followed those procedures.
95    Docket No. 36 at 18-19.

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there is nothing in federal law, or Alaska law, that exempted Ray, or this Con-

tract, from Section 410.

      Ray’s arguments in support of enforcing the Contract despite its lack of

Interior’s approval have relied on his strained interpretation of three cases, all

of which are distinguishable from this litigation. First, in Arenas v. Preston, an

Indian sued the United States under the General Allotment Act of 1894 to de-

termine his rights to an allotment in California.96 After the Indian prevailed

in the litigation, the federal district court awarded him “attorney[’]s fees and

expenses and secur[ed] the payment thereof by the impression of a lien upon

the land inuring to his benefit as a result of the litigation.”97 The United States

appealed, arguing that the district court lacked jurisdiction and statutory au-

thority to impose a lien on the allotment.98

      The Ninth Circuit affirmed the attorney’s fees lien, in part, concluding

that federal courts have “equitable jurisdiction” to impose a lien on an allot-

ment “for the payment of attorney’s fees and necessary expenses of the litiga-

tion.”99 However, the court emphasized that “a lien on the property cannot be



96    181 F.2d 62, 63 (9th Cir. 1950).
97    Id.
98    Id. at 63, 66.
99    Id. at 67.

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awarded upon any contract by and between the allottee and his attorney.”100

Instead, an equitable attorney’s fees lien imposed by “the judge as the chancel-

lor” would be limited to a reasonable attorney’s fees award for the instant liti-

gation as determined by the court.101 The Ninth Circuit remanded for the dis-

trict court to “fix the dollar value of the services performed as the basis for the

sum secured by the lien.”102

       Here, Ray’s reliance Arenas is misplaced.103 For one thing, the holding in

Arenas was subsequently rejected by the Alaska Supreme Court. The Tabbytite

Court explicitly declined to follow Arenas, explaining that “Section 410 is nei-

ther mentioned nor discussed in the Arenas opinion.”104 Thus, Arenas is not

controlling as a matter of Alaska law.

       More fundamentally, Arenas undermines Ray’s claims against Joe. Are-

nas involved a federal court’s equitable jurisdiction in the same litigation in




100    Id. (emphasis added).
101    Id.
102   Id. “It may that the value of the percentage allowed for attorney’s fees
upon a finding of the property value, would prove either inadequate or grossly
excessive.” Id.
103    Docket No. 36 at 23.
104   Law Offices of Vincent Vitale, P.C. v. Tabbytite, 942 P.2d 1141, 1148
(Alaska 1997).

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which an allottee’s claims against the United States were adjudicated.105 Ac-

cording to the Arenas Court, the legislation authorizing those claims in federal

court should be interpreted to “afford protection to the allottee, rather than to

restrict courts of equity from giving such protection.”106 The crux of the decision

was that an Indian’s attorney should be compensated for bringing a claim

against the United States to promote the Indian’s interests. Importantly, Are-

nas explicitly rejected the premise of Ray’s claims against Joe, i.e., that a law-

yer may bring a separate, private lawsuit against an allottee to enforce a lien

that was based on a contract that had not been approved by Interior under

Section 410.107

       Second, in United States v. Equitable Trust Company of New York, an

Indian who had been adjudged to be incompetent was “kidnapped by an adven-

turess” and induced to enter into an agreement conveying his allotment pro-

ceeds to a charity and other individuals.108 The Secretary of the Interior



105    Arenas, 181 F.2d at 63-64.
106   Id. at 66 (“It must be remembered that the fundamental consideration is
the protection of a dependent people. And legislation must be construed in the
way most favorable to the Indian.” (internal quotation marks and citations
omitted)).
107  Id. at 67 (“[A] lien on the property cannot be awarded upon any contract
by and between the allottee and his attorney.”).
108    283 U.S. 738, 740-41 746 (1931).

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approved the agreement and distributed the allotment proceeds accordingly.109

Upon learning what had happened, the Indian’s guardian filed a lawsuit seek-

ing to rescind the fraudulent conveyances and preserve the allotment proceeds

in trust for the Indian.110 The United States eventually intervened in the law-

suit in support of the guardian.111 In ruling for the guardian and the United

States, the district court determined that the Secretary of the Interior could

not validly approve a transaction involving an incapacitated Indian, and thus,

the court ordered that the allotment proceeds be restored to the trust fund held

by the United States for the benefit of the Indian.112 The district court also

awarded attorney’s fees to the guardian with “directions that these allowances

be paid out of the fund which had been the subject of the litigation.”113 The

United States appealed the fees award.114

       The Supreme Court affirmed, relying on the “general rule in courts of

equity that a trust fund which has been recovered or preserved through their

intervention may be charged with costs and expenses, including reasonable


109    Id. at 741.
110    Id. at 741-42.
111    Id. at 742.
112    Id. at 743-44.
113    Id. at 744.
114    Id.

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attorney’s fees, incurred in that behalf.”115 The Court rejected the United

States’ arguments that “charging the fund with the costs and expenses and

requiring payment therefrom, would be disposing of a part of the fund in vio-

lation of applicable restrictions.”116 According to the Court, legislation protect-

ing Indians’ allotment proceeds was not “intended to restrain courts of equity

when dealing with situations like that disclosed in this litigation from applying

the rules which experience has shown to be essential to the adequate protection

of a wronged cestui que trust.”117 Importantly, the Court stressed that the

amount of an attorney’s fees award must be “reasonable” and reduced the

award from $100,000 to $50,000, “to bring it within the standard of reasona-

bleness.”118

       Equitable Trust does not help Ray’s arguments any more than Arenas.

Ray filed this private lawsuit against Joe, the allotee, to enforce a contingency

fee agreement that had not been approved by Interior, rather than as an equi-

table claim for compensation in the underlying litigation to protect trust




115    Id.
116    Id.
117    Id. at 745.
118    Id. at 746 (emphasis added).

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assets.119 However, even if Ray were entitled to an equitable attorney’s fees

award for his work in Oenga v. United States, the Oenga heirs have already

paid Ray more than $7 million,120 which is more than sufficient to fairly com-

pensate Ray under the “standard of reasonableness.”121

       Third, in Givens v. Wallace Oenga, Ray filed a complaint against one of

the other Oenga heirs to enforce a “catch-up” agreement for Ray’s fees under

the Contract.122 This Court entered default judgment against Wallace Oenga

and issued orders enforcing the default judgment, including directing the Clerk

of Court to sign documents authorizing the BIA to distribute funds in Wallace’s

trust account to Ray.123




119    See Alyeska Pipeline Serv. Co. v. Wilderness Soc’y, 421 U.S. 240, 257-58
(1977) (citing Equitable Trust as an example where federal courts may “in lim-
ited circumstances” award “reasonable attorney’s fees to the prevailing party”
in litigation) (emphasis added).
120    See infra Argument IV; Erickson Decl. at 8, ¶ 25.
121    Equitable Trust, 283 U.S. at 746.
122   Exhibit N at 6 [Complaint, Docket No. 1, Givens v. Wallace Oenga, No.
3:19-cv-00043-HRH (D. Alaska Feb. 14, 2019)].
123  Exhibit O at 1-2 [Order on Motion for Rule 60(b) Relief, Docket No. 90,
Givens v. Wallace Oenga, No. 3:19-cv-00043-HRH (D. Alaska Mar. 1, 2023)].

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        Givens v. Wallace Oenga has no bearing on this case. Even if Joe were

bound by the outcome in Wallace’s case, which he is not,124 the default judg-

ment has no preclusive effect in subsequent cases because it was not a decision

on the merits.125 This Court has not yet determined whether the Contract vio-

lates Section 410.126 Now that the issue is squarely presented by this motion,

this Court should conclude that the Contract is illegal and unenforceable.127

III.    Public policy reasons behind Section 410 support concluding
        that the Contract is illegal and unenforceable.

        Congress enacted Section 410 as part of its fiduciary responsibility to

Alaska Natives.128 The “provision found its way into the law for the protection

of the Indians, who were wards of the government.”129 The statute “is designed



124    See Taylor v. Sturgell, 553 U.S. 880, 891 n.4 (2008) (“For judgments in
diversity cases, federal law incorporates the rules of preclusion applied by the
State in which the rendering court sits.”); Powers v. United Servs. Auto Ass’n,
6 P.3d 294, 297-98 (Alaska 2000) (stating that a non-party may only be bound
by a prior judgment if the non-party was in “privity” with the party that actu-
ally litigated a case that resulted in a final judgment on the merits).
125    Wall v. Stinson, 983 P.2d 736, 740 (Alaska 1999) (“[D]efault judgments
should not be given any issue-preclusive effect, because they do not entail a
full and actual litigation of the underlying factual issues.”).
126     See Docket No. 78 at 7.
127   See Leisnoi, Inc. v. Merdes & Merdes, P.C., 307 P.3d 879, 888 n.27
(Alaska 2013).
128     See Pretty Paint v. Rocky Mtn. Re’gl Director, 38 IBIA 177, 178-79 (2002).
129     Jordan v. O’Brien, 9 N.W.2d 146, 148 (S.D. 1943).

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to exempt certain Indian property from liability for the payment of certain

debts,”130 ensuring that those proceeds are available for the benefit of Alaska

Natives.131 To that end, Section 410 provides an essential safety net for Alaska

Natives who may lack the education and business experience to protect them-

selves from more sophisticated business parties. Although paternalistic (and

perhaps an anachronism), Section 410 remains an important provision that

implements the federal government’s fiduciary responsibilities to Alaska Na-

tives, particularly future generations who will inherit interests in allotments.

       Here, Ray took advantage of the fact that Interior never approved the

Contract by presenting the Oenga heirs with a fee agreement in violation of

Alaska’s ethical rules.132 First, Ray never disclosed the potential conflicts of

interest arising from his common representation of the Oenga heirs. Alaska




130   Law Offices of Vincent Vitale, P.C. v. Tabbytite, 942 P.2d 1141, 1147
(Alaska 1997).
131   See First-Citizens Bank & Trust Co. v. Harrison, 326 P.3d 808, 812
(Wash. Ct. App. 2014) (concluding that Section 410 “continues to protect any
money accruing from the lease of Indian trust land, even after it has been dis-
tributed to a Native American and placed in a personal bank account”).
132   Discovery in this case is ongoing. Joe reserves his factual and legal ar-
guments that the Contract violates public policy and is therefore unenforcea-
ble. See, e.g., Shtauber v. Gerson, 239 F. Supp. 3d 248, 253-54 (D.D.C. 2017)
(“[R]ules of professional conduct are statements of public policy, and contrary
contracts are generally unenforceable.” (citing Gaddy Eng’g Co. v. Bowles Rice
McDavid Graff & Love, LLP, 746 S.E.2d 2d 568, 580-81 (W.Va. 2013))).

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Rule of Professional Conduct 1.7 prohibits a lawyer from engaging in a repre-

sentation involving a conflict of interest. A conflict of interest can arise if “the

representation of one client will be directly adverse to another client” or if

“there is a significant risk that the representation of one or more clients will

be materially limited by the lawyer’s responsibilities to another client.”133 In

certain circumstances, conflicts of interest may be waived by the clients but

only after each client gives informed consent.134

       The comments to Professional Rules 1.7 and 1.8 highlight the “special

considerations” for lawyers entering into a common representation of multiple

clients. Because a lawyer owes a duty of loyalty to each client, a common rep-

resentation presents a significant and foreseeable risk that the representation




133    Alaska R. Prof. Conduct 1.7(a).
134    The version of Professional Rule 1.7(b) in effect in 2003 when Ray’s rep-
resentation began provided: “A lawyer shall not represent a client if the repre-
sentation of that client may be materially limited by the lawyer’s responsibili-
ties to another client . . . unless: . . . (2) the client consents after consultation.
When representation of multiple clients in a single matter is undertaken, the
consultation shall include explanation of the implications of the common repre-
sentation and the advantages and risks involved.” Alaska R. Prof. Conduct
1.7(b) (2003) (emphasis added).

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of all clients must end if any of the clients become adverse to one another.135

“Differences in willingness to make or accept an offer of settlement are among

the risks of common representation of multiple clients by a single lawyer,”136

and “should be discussed before undertaking the representation, as part of the

process of obtaining the clients’ informed consent.”137 Ray never disclosed the

risks of the common representation or received written conflict waivers from

the Oenga heirs.

       Importantly, the Contract included a prohibited settlement-voting pro-

vision, providing that “[i]n the event of any proposed settlement, Clients agree

that the affirmative vote and affirmation of more than 75% of the Clients’




135   Alaska R. Prof. Conduct 1.7, Comment (“In some situations, the risk of
failure is so great that multiple representation is plainly impossible. For ex-
ample, a lawyer cannot undertake common representation of clients where con-
tentious litigation or negotiations between them are imminent or contem-
plated.).
136    Alaska R. Prof. Conduct 1.8, Comment.
137   Alaska R. Prof. Conduct 1.7, Comment (“Any limitations on the scope of
the representation made necessary as a result of the common representation
should be fully explained to the clients at the outset of the representation.”).

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interest in the Lease shall be controlling, and the attorney, and all parties

dealing with the attorney, shall have the right to rely on this vote or affirma-

tion.”138

       In Hayes v. Eagle-Picher Industries, Inc., the United States Court of Ap-

peals for the Tenth Circuit concluded that a similar “majority rule” agreement

among a lawyer and multiple clients was “violative of the basic tenets of the

attorney-client relationship.”139 Like Ray’s Contract, the agreement in Hayes

provided “that the majority rule would govern acceptance of a settlement.”140

When two clients objected to a settlement that had been agreed to by a majority

of the other clients, the Tenth Circuit held that the “majority rule” agreement

was invalid:

             In our view, however, this arrangement is contrary to
             the plain duties owed by an attorney to a client. An
             agreement such as the present one which allows a case
             to be settled contrary to the wishes of the client and
             without his approving the terms of the settlement is
             opposed to the basic fundamentals of the attorney-

138    Exhibit D at 2. But see Alaska R. Prof. Conduct 1.8(g) (“A lawyer who
represents two or more clients shall not participate in making an aggregate
settlement of the claims of or against the clients . . . unless each client gives
informed consent, in a writing signed by the client. The lawyer’s disclosure
shall include the existence and nature of all claims or pleas involved and of the
participation of each person in the settlement.”).
139    513 F.2d 892, 894 (10th Cir. 1975).
140    Id.

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             client relationship. Inasmuch as the attorney is merely
             an agent for the client in negotiation and settlement,
             the approval of the client is an all[-]important essen-
             tial to a settlement which is to be binding, and if this
             approval is not present the court is placed in a most
             unfavorable position in enforcing it.[141]

       Ultimately, conflicts of interest that likely should have ended Ray’s rep-

resentation of the Oenga heirs arose at least by 2011 during the Oenga v.

United States settlement negotiations. Ray learned that the United States and

oil companies would not agree to a settlement unless all of the Oenga heirs

signed,142 despite the Contract provision authorizing a 75%-majority vote on

settlement.143 At a meeting in August 2011, “things got heated” when one of

the Oenga heirs did not want to sign the settlement agreement.144 Instead of

determining that there was a conflict of interest, Ray prepared documents to

facilitate a bribe from one of the other Oenga heirs to the holdout, allowing the

settlement agreement to have unanimous approval.145 There is no question




141    Id.
142   Exhibit P at 1 [Memorandum from Raymond C. Givens to Oenga Heirs
(Aug. 5, 2011)].
143    Exhibit D at 2.
144    Exhibit G at 5; see Exhibit Q [Oenga heirs’ settlement ballot].
145    Exhibit B at 6.

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that Ray violated his professional duties by helping one of his clients pay off

another client while keeping that bribe secret from the other clients.146

       Second, Ray failed to disclose whether his costs would be deducted before

or after the contingent fee was calculated. Under Professional Rule 1.5, a con-

tingent fee agreement “shall be in writing and shall state the method by which

the fee is to be determined, including the percentage or percentages that shall

accrue to the lawyer; . . . litigation and other expenses to be deducted from the

recovery; and whether such expenses are to be deducted before or after the

contingent fee is calculated.”147 The Contract did not address whether litiga-

tion costs would be deducted before or after the contingent fee was calcu-

lated,148 and Ray admitted that his method of calculating his fees was ques-

tioned by the BIA.149




146    See Alaska R. Prof. Conduct 1.7, Comment (“As to the duty of confiden-
tiality, continued common representation will almost certainly be inadequate
if one client asks the lawyer not to disclose to the other client information rel-
evant to the common representation. This is so because the lawyer has an equal
duty of loyalty to each client, and each client has the right to be informed of
anything bearing on the representation that might affect that client’s interests
and the right to expect that the lawyer will use that information to that client’s
benefit.”).
147    Alaska R. Prof. Conduct 1.5(c).
148    See Exhibit D.
149    Exhibit J.

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       Although Ray eventually amended the Contract in response to concerns

raised by the BIA,150 the Contract was not corrected until 2012.151 Joe and the

Oenga heirs had been making payments to Ray for at least six years under a

fee agreement that violated Professional Rule 1.5.152

       Third, Ray never disclosed that he was not licensed to practice law in

Alaska. “A person not an active member of the Alaska Bar and not licensed to

practice law in the state who engages in the practice of law or holds out as

entitled to engage in the practice of law . . . is guilty of a class A misde-

meanor.”153 Ray was never licensed to practice law in Alaska; however, this

Court concluded that Ray “was engaged in the practice of law in Alaska while

he was representing the Oenga heirs.”154 Ray’s unlawful representation of the

Oenga heirs likely resulted in a material limitation on the representation,

which was never disclosed to the Oenga heirs.155


150    Exhibit K at 6.
151    Exhibit J at 2.
152    Erickson Decl. at 8, ¶ 25.
153    AS 8.08.230(a).
154    Exhibit E at 17.
155    See Exhibit D at 1 (“Attorney shall represent Clients in said matter and
do all things necessary, appropriate, or advisable, in regard thereto, whether
the same be by representation in legal proceedings or otherwise, against the
Lessee or any other person, entity, department or agency, including govern-
mental entities, departments or agencies.”).

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       Ray’s representation of the Oenga heirs, beginning with the Contract,

was rife with serious ethical violations. Section 410 was enacted to protect al-

lottees from contracts obligating proceeds from their trust property in circum-

stances just like this.

IV.    Ray’s estate is not entitled to the remedy of quantum meruit
       because the Oenga heirs already paid Ray a reasonable amount
       of fees.

       Finally, upon concluding that the Contract is illegal and unenforceable,

this Court should determine that Ray’s estate is not entitled to any relief under

the doctrine of quantum meruit. Ray already received fair compensation for

his work; he is entitled to nothing more.

       The general rule is that a lawyer is not entitled to enforce an illegal fee

contract;156 however, in some circumstances involving an illegal fee contract,

the lawyer “may seek recovery in quantum meruit.”157 Quantum meruit is an

equitable remedy synonymous with claims for unjust enrichment, quasi-con-

tract, or a contract implied-in-law.158 “Under the doctrine of quantum meruit,



156    Leisnoi, Inc. v. Merdes & Merdes, P.C., 307 P.3d 879, 888 (Alaska 2013).
157   Id. at 894; Kelley v. Donohue (In re Estate of Katchatag), 907 P.2d 458,
464 (Alaska 1995).
158   Alaska Sales & Serv. v. Millet, 735 P.2d 743, 746 n.6 (Alaska 1987); ac-
cord Raymond James Trust, N.A. v. Husby, No. 3:19-cv-0138-HRH, 2019 U.S.
Dist. LEXIS 88240 at * 3 (D. Alaska May 23, 2019).

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when a valid contract does not exist, a plaintiff is entitled to the ‘reasonable

value of the services rendered to the defendant.’ ”159 “Recovery is based ‘on the

equitable maxim that one person should not be unjustly enriched to the detri-

ment of another.’ ”160

       In Alaska, where Ray “was engaged in the practice of law,”161 lawyers

are limited to recovering reasonable fees.162 When there is not a valid contract

establishing the fee, the court may independently determine the amount of a

reasonable fee to award.163 Alaska courts generally apply the modified lodestar

method by multiplying the number of hours the lawyer worked by a reasonable




159  Romero v. Cox, 166 P.3d 4, 9 (Alaska 2007) (quoting Krossa v. All Alas-
kan Seafoods, Inc., 37 P.3d 411, 419 (Alaska 2001)).
160   Alaska Sales & Serv., 735 P.3d at 746 (quoting Nordin Constr. v. City of
Nome, 489 P.2d 455, 464 n.9 (Alaska 1971)); see also Fairbanks N. Star Bor-
ough v. Tundra Tours, Inc., 719 P.2d 1020, 1029 (Alaska 1986) (“The majority
rule in quantum meruit recovery is that absent an agreement fixing compen-
sation, any evidence tending to show the reasonable value of services is gener-
ally admissible.”).
161    Exhibit E at 17.
162    Alaska R. Prof. Conduct 1.5.
163    See Owen Jones & Sons v. C.R. Lewis Co., 497 P.2d 312, 314 (Alaska
1972) (“[T]he amount of attorney’s fees was within the sound discretion of the
trial court.”).

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hourly rate, and then adjusting that baseline amount to account for the law-

yer’s risk in taking a case on a contingent fee.164

       Here, it is impossible to accurately apply the modified lodestar method

because Ray did not keep records of the time that he worked on the Oenga

heirs’ matter.165 Nevertheless, there is ample evidence for this Court to con-

clude that Joe and the Oenga heirs already paid Ray a reasonable fee. Between

2006 and 2021, the Oenga heirs (including Joe) paid Ray $7,029,654.41—of

which $6,579,092.00 was allocated to Ray’s attorney’s fees.166 Assuming for the

purposes of this motion only, that Ray reasonably worked 7,000 hours, as he




164    Rusch v. Se. Alaska Reg’l Health Consortium, 563 P.3d 2, 11 (Alaska
2025) (“The modified lodestar method is used to award attorney’s fees under
statutes that authorize fee shifting for certain types of claims.”); Adkins v. Col-
lens, 444 P.3d 187, 199 n.34 (Alaska 2019) (“The most useful starting point for
determining the amount of a reasonable fee is the number of hours reasonably
expended on the litigation multiplied by a reasonable hourly rate.” (quoting
Hensley v. Eckerhart, 461 U.S. 424, 433 (1983))); Edwards v. Alaska Pulp
Corp., 920 P.2d 751, 757-59 (Alaska 1996) (recognizing that “whether the fee
is fixed or contingent” is a factor that courts may consider in deciding whether
to adjust the lodestar amount); see also Cooper v. Thompson, 353 P.3d 782, 798
(Alaska 2015) (concluding that it was error to award Rule 68 attorney’s fees
based on a contingent fee contract instead of based on actual hours worked).
165   Exhibit B at 4 (“I didn’t keep good time records because it was a contin-
gent case. As a matter of fact, and I think in March of [2011] – when would it
have been – well, I just quit keeping time records all together.”).
166    Erickson Decl. at 8, ¶ 25.

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claimed,167 and his paralegal reasonably worked 3,000 hours at $325.00 per

hour,168 then the Oenga heirs have compensated Ray at a rate of at least

$800.00 per hour, to date.169 Ray initially offered to represent the Oenga heirs

on an hourly basis with a rate of $200.00 per hour.170 Thus, Ray’s compensa-

tion, so far, has been more than quadruple what he considered to be a reason-

able rate for the Oenga heirs’ case.

       Importantly, although the fees that Joe and other Oenga heirs have al-

ready paid are reasonable, Ray’s estate is seeking to enforce the Contract in

the future each year until 2038.171 If the full Contract fees are paid going for-

ward—totaling hundreds of thousands of dollars more each year—Ray’s effec-

tive hourly rate would increase significantly and far exceed what any Alaska

court would consider to be within the “standard of reasonableness.”172

       Under the circumstances, this Court should conclude that Ray’s estate is

not entitled to restitution because the fees that have already been paid



167    Exhibit B at 8.
168    Exhibit B at 8; see Erickson Decl. at 9, ¶ 26.
169    Erickson Decl. at 9, ¶ 26.
170   Exhibit T at 1 [Letter from Raymond C. Givens, to Michael D. Stotts
(Sept. 11, 2003)].
171    Docket No. 1 at 14; Exhibit F at 2.
172    United States v. Equitable Trust, 283 U.S. 738, 740-41, 746 (1931).

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adequately compensated Ray for the risk of the contingent fee representation.

Equity compels this Court to leave the parties to this illegal bargain where it

finds them and “grant no remedy to either party.”173

                                 CONCLUSION

       For the foregoing reasons, this Court should grant summary judgment

to Joe and dismiss Ray’s estate’s claims. The Contract between Ray and the

Oenga heirs violates Section 410, and thus, it is illegal and unenforceable. Ray

is not entitled to any equitable relief because has already received a reasonable

fee for his services.

       Respectfully submitted.



 DATED: June 6, 2025               LANDYE BENNETT BLUMSTEIN LLP

                                   /s/ Andrew Erickson
                                   ________________________________________
                                   Andrew Erickson, Alaska Bar No. 1605049
                                   Matt Mead, Alaska Bar No. 0711095

                                   Attorneys for Defendant Joseph Delia




173    Pavone v. Pavone, 860 P.2d 1228, 1231 (Alaska 1993).

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  CERTIFICATE OF COMPLIANCE WITH LOCAL CIVIL RULE 7.4

     Pursuant to Local Civil Rule 7.4(a)(3), I hereby certify compliance with

the page/word limitation of Local Civil Rule 7.4(a)(1). This combined motion

and memorandum contains 9,624 words, excluding the parts exempted by Lo-

cal Civil Rule 7.4(a)(4). This memorandum has been prepared in a proportion-

ally spaced typeface, Century Schoolbook, 13-point font, and I obtained the

word count using Microsoft Word.


                                   /s/ Andrew Erickson
                                   ________________________
                                   Andrew Erickson




                      CERTIFICATE OF SERVICE

     I hereby certify that on June 6, 2025, a copy of the foregoing was served

by electronic means on all counsel of record by the Court’s CM/ECF system.



                                   /s/ Andrew Erickson
                                   ________________________
                                   Andrew Erickson




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